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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Northern District
                                             __________  District of
                                                                  of __________
                                                                     Texas


                 Jose & Norma Navarrette,                      )
                             Plaintiff                         )
                                v.                             )      Case No.     3:21-CV-03082
      EK Real Estate Services, of NY, LLC, et. al.,            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          EK Real Estate Services, of NY, LLC and EasyKnock, Inc.                                                      .


Date:          04/27/2022                                                                 /s/ D. Scott Funk
                                                                                         Attorney’s signature


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